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 8
                           UNITED STATES DISTRICT COURT
 9
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11                                                   Case No.: 3:23-cv-02518-JD
     DUSTIN NEFF, an individual
12                                                   The Honorable James Donato
                       Plaintiff,
13
     v.                                      [PROPOSED] ORDER
14                                           GRANTING SPECIALLY
     SBA ENTERTAINMENT, LLC, a Colorado      APPEARING DEFENDANTS
15   Limited Liability Company; GOOD         CHICKEN SOUP FOR THE
     ENTERPRISE SOLUTIONS INC., a Colorado SOUL ENTERTAINMENT,
16   Corporation; CHICKEN SOUP FOR THE       INC. AND TOFG, LLC’S
     SOUL ENTERTAINMENT, INC., a Delaware MOTION FOR EXTENSION
17   Corporation; TOFG LLC d/b/a 1091, a     OF TIME TO RESPOND TO
     Delaware Limited Liability Company; and FIRST AMENDED
18   DOES 1-10, Inclusive,                   COMPLAINT [CIVIL L.R. 6-
                                             3(A)]
19                      Defendants;
                                             (First Request)
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                                                                    Case No. 3:23-cv-02518-JD
         Case 3:23-cv-02518-JD Document 45-1 Filed 06/20/24 Page 2 of 2



 1         Specially Appearing Defendants Chicken Soup for the Soul Entertainment, Inc.
 2   and TOFG, LLC (“Defendants”) bring a Motion for Extension of Time to Respond to
 3   First Amended Complaint (“FAC”) pursuant to Civil Local Rule 6-3(a) (the “Motion”).
 4   The Court, having considered the papers filed by the parties in connection with the
 5   Motion, and good cause appearing, hereby GRANTS Defendants’ Motion. Defendants’
 6   deadline to respond to the FAC shall be extended to July 22, 2024.
 7         IT IS SO ORDERED.
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11   Dated: _________, 2024
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14                                           Honorable James Donato
                                             United States District Judge
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